              Case 2:21-cr-00955-DLR Document 12 Filed 11/30/21 Page 1 of 2




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4                                                                       CLERK U.S. DISTRICT COURT
     Facsimile: (480) 429-3362                                             DISTRICT OF ARIZONA

5    Attorney for Defendant

6

7                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF ARIZONA
8
                                                               No. CR-21-00955-02-PHX-DLR (MTM)
9    United States of America,
10                               Plaintiff,                     APPEARANCE OF COUNSEL
     v.
11
     Jose Teran,
12   a.k.a. Jose Medina
     a.k.a. Jose Manuel Medina Teran
13   a.k.a. Chanel
14                               Defendant.
15

16

17
                   Jason M. Silver, of the firm of Silver Law PLC, 7033 East Greenway Parkway,

18
     Suite 200, Scottsdale, Arizona 85254, telephone number (480) 429-3360; facsimile (480) 429-

19
     3362, is admitted to practice in this Court, and I appear in this case as counsel on behalf of Jose

20
     Teran, a.k.a. Jose Medina, a.k.a. Jose Manuel Medina Teran, a.k.a. Chanel.

21                 RESPECTFULLY SUBMITTED this 1st day of December, 2021.

22                                              SILVER LAW PLC
23
                                                By:      /s:/ Jason M. Silver
24
                                                      Attorney for Defendant
25
               Case 2:21-cr-00955-DLR Document 12 Filed 11/30/21 Page 2 of 2




1    COPY of the foregoing transmitted

2    by ECF for filing this 1st day of December, 2021, to:

3    Clerk’s Office

4    United States District Court

5    Sandra Day O’Connor Courthouse

6    401 W. Washington

7    Phoenix, Arizona 85003

8

9    Raymond K. Woo
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12   Two Renaissance Square

13   40 North Central Avenue, Suite 1800

14   Phoenix, Arizona 85004

15   Attorneys for Plaintiff

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     COPY emailed to:
17
     Jose Teran
18
     Defendant
19

20

21   /s/    Lindsay A. Chapman

22   Lindsay A. Chapman, legal Assistant
23

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